Case: 1:19-cv-06734 Document #: 392 Filed: 11/22/21 Page 1 of 1 PageID #:5791

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Robert S. Dolgow, D.D.S., P.A., et al.
                                             Plaintiff,
v.                                                          Case No.: 1:19−cv−06734
                                                            Honorable Elaine E. Bucklo
Delta Dental Insurance Company, et al.
                                             Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 22, 2021:


       MINUTE entry before the Honorable Elaine E. Bucklo: Plaintiffs' motion to
compel [380] is granted except that defendants need to produce documents preceding
2014 only as to request numbers 15, 16, 22, 26, 30 and 60. Mailed notice. (mgh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
